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                      UNITED STATES DISTRICT COURT
                         Northern District of California

                                       CIVIL MINUTES


 Date: October 11, 2022            Time: 2:00 – 4:24           Judge: YVONNE GONZALEZ
                                                               ROGERS
 Case No.: 20-cv-03664-YGR         Case Name: Brown et al v. Google LLC et al



Attorneys for Plaintiff: Mark Mao, John Yanchunis, Ryan McGee, James Lee, Jean Martin,
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Alyssa Olson, Seth Fortenbery



 Deputy Clerk: Aris Garcia                             Reported by: Pamela Hebel

                                       PROCEEDINGS

[609] MOTION to Certify Class, [662] MOTION to Strike Lasinski Opinion, [663] MOTION to
Strike Nelson Opinion, [664] MOTION to Strike Schneier Report, [703] MOTION Exclude
Portions of Rebuttal Expert Report of Konstantinos Psounis, [705] MOTION to Strike – HELD
and Submitted.

Order to be prepared by:
( )   Plaintiff              ( )     Defendant             (x)    Court
